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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


 tII\ITED STATES OFAMERICA                           *        CRIMINAL NO. O9-OO24O-KD

 v.                                                  *

 JOSE NORIEGA, et. al.                               *

                                                ORDER


        Upon motion of the United States and for good cause shown, it is hereby ORDERED,

 ADruDGED, and DECREED that the following asset is dismissed from the Superseding

 Indictment and Judgment of Forfeiture in the above styled cause:

        REALPROPERTY:                                                .


         1. All of that lot or parcel of land, together with it's building, appurtenances,
 improvements, fixtures, attackrments and easements, that would constitute the residence, curtilage
 and outlying property with the street address of 8500 Chutney Drive, in Eight Mile, Alabama,

 which property is more particularly described as:


        PARCEL 1:
        Lot 44 Spice Pond Estates, Unit 3, a subdivision, according to a map or plat thereof
        which is on file of record in the Office of the Judge of Probate of Mobite County,
        Alabama, in Map Book 20, page 90.


        PARCEL 2:
        That parcel of land in the SW 1/4 of the NW 1/4 of Section 1, Township 3 South,
        Range 3 West,lying West of the East line of Lot 44, Spice Pond Estates, Unit Threeo
        according to the plat thereof recorded in Map Book 200 page 90 in the records of the
        Office of the Judge of Probate, Mobile County, Alabama, if said line was extended
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       Northwardly to the North line of said SW ll4 of the NW L/4 of said section.


       LESS AND EXCEPTING THEREFROM such oil, gas and other minerals in, on
       and under the above described real property, together with all rights in connection
       therewith, as have previously been reserved by or conveyed to others.




                             {b
       ORDERED, thiS
                       JLday of April,2orr.

                                                  KRISTI K. DUBOSE
                                                  UNITED STATES DISTRICT ruDGE




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